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                   pce e l n j e u aq;   pue2sxaFwn o:, aTqGun              ST    sqs i p q ~i ~ a ; x 3




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DEC-28-2006     15:52             IJ. S. A T T ' X N E Y , E OFF ICE
     i n h e r defezse;
                        I T I S 9SRSEY FURTHER OXDERED t h e e x a n i n a t i o n be
     c o n d u c t e d a s e x p e d i ~ i o u s l y a sp o s s i b l e and t 2 a c a r e p o r r be
     i s s u e d t o t h e p a r t i e s 2nd t h e C o u r t w i t h i n a p p r o x i m a t e l y 30 d a y s :
     and
                        I T I S HFREBY FURTHER 9RgERED t h a t t n ? k7azCen of t h e
     Y e t r o p o l i t a n C o r r e c t i o n a l C e n t e r , o r whoever s h a l l have t h e
     s n p e r v i s i o n and c o n t r o l o f t h e d e f e n d a n t , s h e l l p r o v i d e a
     s u i t a b l e p l a c e f o r t h e a d m i n i s t r a t i c n of a p s y c l ~ o l o g i c a l
     examination.
     Eated:          New 'fork, New York
                     Gecember f g , 2 0 0 6
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                                                7 N I T E D STATZS DISTRICT JUDGE
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